         Case 1:22-cv-10314-JHR Document 30 Filed 03/01/23 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

 DANIEL GOLDENBERG, Individually and
 on Behalf of All Others Similarly Situated,     Case No. 1:22-CV-10314-JHR

                                                 CLASS ACTION
                       Plaintiff,
                                                 [PROPOSED] ORDER GRANTING
              v.
                                                 BLEICHMAR FONTI AND AULD LLP’S
 NEOGENOMICS, INC., DOUGLAS                      MOTION TO WITHDRAW AS
 VANOORT, MARK MALLON,                           COUNSEL OF RECORD
 KATHRYN MCKENZIE, and WILLIAM
 BONELLO,


                       Defendants.


       Upon consideration of the Motion to Withdraw as Counsel, the accompanying Declaration

of Javier Bleichmar, and for good cause shown,

       IT IS HEREBY ORDERED THAT, Bleichmar Fonti & Auld LLP is hereby withdrawn

as counsel of record for Plaintiff Daniel Goldenberg. The Clerk of the Court is directed to remove

the above-named attorney and law firm from the docket as well as the ECF Service List.

       IT IS SO ORDERED.

Dated: _________________________, 2023



                                                       HON. JENNIFER H. REARDEN
                                                     UNITED STATES DISTRICT JUDGE
